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1
2                                            UNITED STATES DISTRICT COURT
3
                                             FOR THE DISTRICT OF COLUMBIA
4
5    UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00519 TFH-1
6
7
8                                  v.                       UNOPPOSED MOTION TO VACATE
9                                                           THE AUGUST 5TH PRETRIAL
                                                            CONFERENCE HEARING AND
10
     STEVEN BILLINGSLEY,                                    CONVERT THE AUGUST 15TH
11                                                          TRIAL DATE TO A CHANGE OF
12                                          Defendant.      PLEA HEARING DATE
13
14
15
16
17
                              COMES NOW, counsel for Steven Billingsley, to respectfully request
18
     this Honorable Court to vacate the August 5, 2022, pretrial conference hearing and
19
20   to convert the August 15, 2022, trial date to a change of plea hearing date. As
21   grounds for this motion counsel would state:
22
                              1. Trial in this matter is scheduled for August 15, 2022.
23
                              2. A pretrial conference is scheduled for August 5, 2022.
24
25                            3. The defendant has indicated that he intends to accept government’s
26   plea offer and will enter a plea on August 15, 2022, thereby eliminating the
27
     necessity of a pretrial conference.
28
                              4. The United States does not oppose the motion.




      United States v. Steven Billingsley                                 Law Office of Joseph R. Conte
      Case No. 1:21-cr-00519-THF-1                                        400 Seventh St., N.W. #206
                                                                          Washington, D.C. 20004
      UNOPPOSED MOTION TO VACATE THE                                      Phone: 202.638.4100
      AUGUST 5TH PRETRIAL CONFERENCE                                      Email: dcgunlaw@gmail.com
      HEARING AND CONVERT THE AUGUST 15TH
      TRIAL DATE TO A CHANGE OF PLEA HEARING
      DATE
      Page No. 1

      CONVERT TRIAL DATE 22/07/29 10:39:17
                    Case 1:21-cr-00519-TFH Document 41 Filed 07/29/22 Page 2 of 2



1                            WHEREFORE counsel respectfully requests that the court vacate the
2
     pretrial conference hearing on August 5, 2022, and convert the trial date of August
3
4
     15, 2022, to a change of plea hearing.
5
6    Dated: July 29, 2022
7
8                                                                Respectfully submitted,
9
10                                                         Joseph R. Digitally      signed by
                                                                           Joseph R. Conte
11
12
                                                           Conte           Date: 2022.07.29
                                                              ____________________________
                                                                           10:39:53 -04'00'
                                                                 Joseph R. Conte, Bar #366827
13                                                               Counsel for Steven Billingsley
14                                                               Law Office of J.R. Conte
15                                                               400 Seventh St., N.W., #206
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     United States v. Steven Billingsley                              Law Office of Joseph R. Conte
     Case No. 1:21-cr-00519-THF-1                                     400 Seventh St., N.W. #206
                                                                      Washington, D.C. 20004
     UNOPPOSED MOTION TO VACATE THE                                   Phone: 202.638.4100
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     HEARING AND CONVERT THE AUGUST 15TH
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     DATE
     Page No. 2

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